Case 1:24-cv-00831-MN       Document 25      Filed 01/28/25    Page 1 of 14 PageID #: 537




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 ALMONDNET, INC. and INTENT IQ, LLC,
 and DATONICS LLC,

              Plaintiffs,                        C.A. No. 24-00831-MN

       v.                                        JURY TRIAL DEMANDED

 LIVEINTENT, INC.,

              Defendant.



       REPLY BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS


Dated: January 28, 2025
                                          Susan E. Morrison (No. 4690)
                                          Grayson P. Sundermeir (No. 6517)
                                          FISH & RICHARDSON P.C.
                                          222 Delaware Avenue, 17th Floor
                                          Wilmington, DE 19899-1114
                                          (302) 652-5070
                                          morrison@fr.com
                                          sundermeir@fr.com

                                          Aamir A. Kazi (pro hac vice)
                                          (GA Bar No. 104235)
                                          1180 Peachtree Street, NE, 21st Floor
                                          Atlanta, GA 30309
                                          (404) 892-5005
                                          kazi@fr.com

                                          Attorneys for Defendant
                                          LIVEINTENT, INC.
Case 1:24-cv-00831-MN                  Document 25                 Filed 01/28/25               Page 2 of 14 PageID #: 538




                                               TABLE OF CONTENTS

I.     INTRODUCTION .................................................................................................1

II.    ARGUMENT .........................................................................................................2

       A.        AlmondNet’s Allegations for the ’146 Patent Should be
                 Dismissed ...................................................................................................2

                 1.         AlmondNet does not identify any product that performs
                            the allegedly infringing acts ...........................................................2

                 2.         AlmondNet relies on actions of third parties to allege the
                            “wherein the advertisement is correlated with the
                            indicated profile attribute or attributes” limitation is
                            satisfied ..........................................................................................5

       B.        AlmondNet’s Allegations for the ’445 Patent Should be
                 Dismissed ...................................................................................................6

                 1.         AlmondNet relies on actions of third parties to allege the
                            “. . . profiles requested by an entity controlling the
                            computer system . . .” limitation is satisfied. .................................7

                 2.         AlmondNet alleges Oracle performs the “wherein the
                            profile owner computer is programmed . . .” limitation ................8

       C.        AlmondNet’s Allegations of Pre-Suit Indirect Infringement
                 Should be Dismissed ................................................................................10

III.   CONCLUSION ....................................................................................................10




                                                                   i
Case 1:24-cv-00831-MN                  Document 25              Filed 01/28/25           Page 3 of 14 PageID #: 539




                                            TABLE OF AUTHORITIES

                                                                                                                       Page(s)

Cases

Eidos Commc'ns, LLC v. Skype Techs. SA,
   686 F. Supp. 2d 465 (D. Del. 2010) ...........................................................................................4

IP Commc'n Sols., LLC v. Viber Media (USA) Inc.,
   2017 WL 1312942 (D. Del. Apr. 5, 2017) .....................................................................1, 2, 3, 5

TeleSign Corp. v. Twilio, Inc.,
    2016 WL 4703873 (C.D. Cal. Aug. 3, 2016).............................................................................4

TQP Dev., LLC v. Intuit Inc.,
  2014 WL 2809841 (E.D. Tex. June 20, 2014) .......................................................................8, 9




                                                                ii
Case 1:24-cv-00831-MN          Document 25        Filed 01/28/25      Page 4 of 14 PageID #: 540




I.     INTRODUCTION

       AlmondNet is unable to answer the straightforward question of what is accused of

infringing the ’146 and ’445 patents. Start with the ’146 patent. Nowhere in its opposition does

AlmondNet cite a direct statement that a specific LiveIntent product or a specific set of

functionality at LiveIntent performs the claim limitations. AlmondNet’s Amended Complaint

and accompanying chart reference different LiveIntent products for different limitations, but not

in any way that any LiveIntent product would satisfy all claim limitations under AlmondNet’s

stated claim. AlmondNet argues all LiveIntent products collectively infringe. This is not

AlmondNet’s currently stated claim, and regardless, the open-ended, non-limiting language

AlmondNet relies upon has been criticized by courts across the country, including the Viber

court AlmondNet relies upon in its Opposition. And where AlmondNet cannot even rely on the

collective functionality provided by all of LiveIntent’s products, AlmondNet points to third

parties, such as LiveIntent’s advertising partners.

       For the ’445 patent, LiveIntent’s motion identified two limitations where the accused

functionality was provided by a third party: (1) the claimed “request” for profile information; and

(2) the use of a “profile owner computer.” AlmondNet at least disputes that its claim charts refer

to third party activity for the alleged “request[ed]” profile information, but there is no other

plausible interpretation of AlmondNet’s stated allegation or the underlying documentation. For

the “profile owner computer” limitation, there is no dispute. AlmondNet confirms it relies upon

a third-party computer as the claimed “profile owner computer.” Because the majority of the

claim limitations are attributed to this “profile owner computer,” AlmondNet’s stated claim

refers to third party systems and not LiveIntent systems.




                                                  1
Case 1:24-cv-00831-MN          Document 25        Filed 01/28/25      Page 5 of 14 PageID #: 541




       Thus, AlmondNet’s allegations of direct infringement of the ’146 and ’445 patents should

be dismissed. And because AlmondNet has affirmed it is not pursuing indirect infringement as

to these patents, its only claim is direct infringement, and these patents should be dismissed.

II.    ARGUMENT

       A.      AlmondNet’s Allegations for the ’146 Patent Should be Dismissed

       AlmondNet’s Opposition demonstrates why AlmondNet’s allegations for the ’146 patent

should be dismissed. AlmondNet argues that it need not identify a “single product” of infringing

the ’146 patent. LiveIntent does not contend otherwise. Rather, LiveIntent argues it cannot tell

what is accused because AlmondNet does not identify any actor or product that satisfies all of the

claim limitations. AlmondNet’s Amended Complaint (including the accompanying charts)

haphazardly lists different LiveIntent products and generally reference third party activities (such

as LiveIntent’s advertising partners). As a result, there is no way to tell what is accused of

infringing the ’146 patent, and AlmondNet’s allegations should be dismissed.

               1.      AlmondNet does not identify any product that performs the allegedly
                       infringing acts

       AlmondNet acknowledges its infringement theory for the ’146 patent refers to

LiveIntent’s DSP, Identity Graph, and Dynamic Audiences for one limitation, LiveIntent’s DSP

for another limitation, and LiveIntent’s Identity Graph and Dynamic Audiences for a third

limitation. D.I. 21 (“Opposition”) at 5. Because AlmondNet identifies different products for

different limitations within the same claim—and fails to identify any product that performs each

of the claim limitations—AlmondNet’s Amended Complaint should be dismissed.

       AlmondNet relies on Viber to argue the pleading requirement does not require identifying

a “single product.” LiveIntent agrees, but the complaint must still provide fair notice of what is

accused. IP Commc'n Sols., LLC v. Viber Media (USA) Inc., 2017 WL 1312942, at *1 (D. Del.



                                                  2
Case 1:24-cv-00831-MN            Document 25      Filed 01/28/25      Page 6 of 14 PageID #: 542




Apr. 5, 2017) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). One way to provide

such notice is to identify the product alleged to infringe, but the patent owner can also describe

the accused functionality—if the description provides notice. Id. at *3 (“The Bender court

explained that ‘[s] sufficient allegations would include, at a minimum, a brief description of what

the patent at issue does, and an allegation that certain named and specifically identified products

or product components also do what the patent does.’”); id. (denying a motion to dismiss because

the complaint “provides specific details of how Defendant's application and servers infringe”).

In Viber, for example, the complaint identified specific accused functions, though it did not name

the product performing those functions. Id. at *1. “Defendants acknowledge[d]” the complaint

“provide[d] specific details of how Defendant’s application and servers infringe the ’071 patent

claims[.]” Id. (emphasis added). Because the specific details put the defendant on notice of

what was alleged to infringe—regardless of whether the product(s) were identified by name—the

court denied defendants’ motion to dismiss. Id.

       The problem that LiveIntent identifies with AlmondNet’s Amended Complaint is the

opposite: the Amended Complaint refers to different LiveIntent products by name but no

products are accused of satisfying each limitation. And AlmondNet provides no details as to

how those products infringe, making it impossible for LiveIntent to understand what is actually

accused. D.I. 17 (“Motion”) at 5 (“There is no explanation as to why AlmondNet identifies these

products, or whether AlmondNet contends these products satisfy the preamble individually,

collectively, or otherwise.”).

       Tacitly recognizing this failure of the pleading standard, for the first time in its

Opposition AlmondNet argues the different LiveIntent products work together to form one

allegedly infringing platform (as opposed to each product independently infringing). But




                                                  3
Case 1:24-cv-00831-MN         Document 25        Filed 01/28/25      Page 7 of 14 PageID #: 543




AlmondNet cannot sidestep the pleading standard by referring to all of LiveIntent’s products as a

“platform” and then accusing that whole platform (and thus, effectively every LiveIntent

product) of infringement. Eidos Commc'ns, LLC v. Skype Techs. SA, 686 F. Supp. 2d 465, 467

(D. Del. 2010) (granting motion to dismiss where complaint did not identify a product or even a

product category but instead generically referred to defendants’ “communication system

products and/or methodologies”); see also TeleSign Corp. v. Twilio, Inc., 2016 WL 4703873, at

*2-3 (C.D. Cal. Aug. 3, 2016) (finding failure of notice where plaintiff did “not plausibly allege

that any one product produced by Defendant performs all elements” nor “plausibly allege that

multiple products tied to the various claim elements are used conjunctively to infringe.”). And

regardless, there is no such disclosure in AlmondNet’s Amended Complaint. The Amended

Complaint refers to different LiveIntent products—including what AlmondNet now refers to as a

“single overall products” as separate products. Compare Opposition at 5 (purporting to accuse

“a single overall product”); with D.I. 13 (“FAC”) ¶ 12 (defining the “LiveIntent’s People Based

Marketing Platform” as a part of the “Accused Instrumentalities”). Similarly, the claim charts

accompanying the Amended Complaint refer to different LiveIntent products as satisfying

different limitations of a single claim. For example, AlmondNet alleges the preamble is satisfied

by a “portion of LiveIntent’s Accused Instrumentalities,” which AlmondNet defines using open-

ended language (“a portion of LiveIntent’s Accused instrumentalities which include

LiveIntent’s People-Based Marketing Platform including but not limited to components such as

the Identity Graph, Identity Module, Monetization, and DSP”):




                                                 4
Case 1:24-cv-00831-MN         Document 25        Filed 01/28/25       Page 8 of 14 PageID #: 544




FAC Ex. 4 at 1. The references to multiple “Accused Instrumentalities” and usage of that label

throughout the pleading and charts demonstrates AlmondNet intended to accuse multiple

products and services, not one single “platform” as AlmondNet now suggests in its opposition.

       AlmondNet’s vague reference to an open-ended list of products (and specifically, a

“portion” of those products) is precisely the type of pleading the court said would be insufficient

in Viber. Viber, 2017 WL 1312942, at *1 (finding the allegations in Viber sufficient because

they disclosed “specific details of how Defendant's application and servers infringe,” as

compared to allegations that “accused only ‘categories of products’ the defendants produced ‘by

way of example and without limitation’” and were found to be insufficient).

       Thus, AlmondNet’s allegations as to the ’146 patent should be dismissed.

               2.      AlmondNet relies on actions of third parties to allege the “wherein the
                       advertisement is correlated with the indicated profile attribute or
                       attributes” limitation is satisfied

       The limitation at issue requires an advertisement “is correlated with . . . profile

attributes.” AlmondNet contends this limitation is satisfied by serving targeted advertisements.

Opp. at 7 (“AlmondNet explains ‘LiveIntent and its advertising partners target the advertisement

directed to the visitor… based on profile data … such that the resulting advertisement is

correlated with the profile attributes.’”). AlmondNet argues it never pleads “LiveIntent and its

advertising partners together” perform this limitation. Opp. at 7. But that is precisely what

AlmondNet alleges in the claim chart accompanying the Amended Complaint, where


                                                 5
Case 1:24-cv-00831-MN           Document 25         Filed 01/28/25      Page 9 of 14 PageID #: 545




AlmondNet alleges “LiveIntent and its advertising partners” together serve targeted

advertisements to satisfy this limitation:




FAC Ex. 4 at 20 (annotation added).

        In fact, AlmondNet’s Opposition does not identify any allegation it its Amended

Complaint (or the accompanying claim chart) attributing the delivery of targeted advertisements

to LiveIntent by itself. AlmondNet instead relies on an excerpt buried in six pages of block

quotes to supposedly demonstrate “LiveIntent, not the advertisers, perform the correlation.”

Opp. at 7. But the excerpt in full also implies actions by third parties in targeted advertising, as it

states LiveIntent uses certain data “to facilitate the delivery of . . . targeted advertising.” Id. at 7-

8 (citing FAC Ex. 4 at 26).

        Thus, AlmondNet has not provided fair notice of what is accused of infringing the ’146

patent, and its claim should be dismissed.

        B.      AlmondNet’s Allegations for the ’445 Patent Should be Dismissed

        AlmondNet’s claim against the ’445 patent should be dismissed because it is unclear

what AlmondNet is accusing of infringement. Whereas AlmondNet asserts LiveIntent performs

the claimed method, AlmondNet’s Amended Complaint and the accompanying claim chart

allege third parties perform claim steps. AlmondNet’s Opposition argues otherwise, but the very

evidence AlmondNet relies upon contradicts AlmondNet’s contention.




                                                   6
Case 1:24-cv-00831-MN          Document 25        Filed 01/28/25      Page 10 of 14 PageID #: 546




                1.      AlmondNet relies on actions of third parties to allege the “. . . profiles
                        requested by an entity controlling the computer system . . .” limitation is
                        satisfied.

        The limitation at issue requires “request[ing]” profile information, which AlmondNet

 originally asserted was satisfied by LiveIntent acting “in coordination with an advertiser /

 publisher” in the claim chart accompanying the Original Complaint. Motion at 6-7 (citing D.I. 1,

 Ex. 6 at 1). In response to LiveIntent’s Motion to Dismiss the Original Complaint, AlmondNet

 removed the explicit reference to LiveIntent acting “in coordination with an advertiser /

 publisher.” Id. at 7. But the rest of the claim chart provided with the Amended Complaint was

 untouched, including the reliance on evidence referring to actions by third parties (and only third

 parties), making it impossible to tell what specific actions by LiveIntent AlmondNet alleges

 infringes.

        AlmondNet argues the claim chart identifies “requests” by LiveIntent, but AlmondNet’s

 argument contradicts the evidence it cites. AlmondNet cites a passage on page 3 of its claim

 chart for the ’445 patent, which it alleges evidences a “request” for certain data. Opp. at 8

 (“[T]he evidence provided is sufficient to plausibly infer that the instructions themselves are a

 request by LiveIntent for a profile or kind of profiles.”). Id. But the cited passage is not

 referring to LiveIntent “requesting” data or any actions by LiveIntent—rather, it refers to the

 user (a third party) selecting when to provide data and also selecting which data it wants to share:

          With LiveIntent’s integration with Oracle, you can easily sync your audiences
          to LiveIntent’s platform. Below is a guide that outlines the steps you must take
          to set up LiveIntent as a Destination in Oracle’s DMP.
          ...
          4. Once LiveIntent has confirmed your Oracle ID is mapped into your
          LiveIntent account, you can login to Oracle and select the audiences that you
          want to send to LiveIntent.
 FAC Ex. 6 at 3 (emphasis added).



                                                   7
Case 1:24-cv-00831-MN          Document 25       Filed 01/28/25      Page 11 of 14 PageID #: 547




        AlmondNet criticizes LiveIntent as improperly interpreting the cited documents as

 referring to a user “sending” data, but there is no other plausible interpretation of AlmondNet’s

 allegations. And it is not only the case that the cited documents refer to a user sending data, they

 also state the user is the one that selects when to “sync” data and which data to “send.” None of

 these allegedly infringing actions—which AlmondNet refers to as the alleged “request”—are

 performed by LiveIntent. It is impossible to tell what action by LiveIntent, as opposed to the

 actions of one of its customers or another third party, is accused and therefore AlmondNet’s

 claim should be dismissed.

                2.      AlmondNet alleges Oracle performs the “wherein the profile owner
                        computer is programmed . . .” limitation

        AlmondNet acknowledges its infringement theory refers to a third-party computer as the

 claimed “profile owner computer.” Opp. at 9-10. LiveIntent therefore cannot directly infringe

 under AlmondNet’s stated claim, because it is not responsible for these third-party computers.

        AlmondNet cites TQP Dev., LLC v. Intuit Inc. to argue LiveIntent can still directly

 infringe, but TQP does not support AlmondNet’s argument. TQP was addressing a divided

 infringement argument. The asserted claim in TQP includes steps performed by defendants’

 servers and other steps performed by defendants’ clients. TQP Dev., LLC v. Intuit Inc., 2014 WL

 2809841, at *11 (E.D. Tex. June 20, 2014). “The argument over divided infringement therefore

 comes down to whether, when the defendants practice the steps of the claimed invention

 involving transmitting encrypted data, they direct or control the steps that are performed by the

 receiving client computers.” Id. As a part of that argument, the TQP defendants argued “that the

 clients’ computers ‘are not provided by, programmed by, or configured by Defendants.’” Id. at

 *12. The court rejected that argument because these steps (providing, programming, and

 configuring) “do not correspond to any claim limitations.” Id.



                                                  8
Case 1:24-cv-00831-MN         Document 25        Filed 01/28/25       Page 12 of 14 PageID #: 548




        By comparison, the asserted claim here expressly requires that the “profile owner

 computer is programmed.” FAC Ex. 5 (’445 Patent) at cl. 1. It cannot be said that the step of

 programming is “prefatory” as AlmondNet claims in its brief. (D.I. 21 at 9-10.) Unlike the

 computers in TQP, the “programming” of the third-party computer is expressly required claim

 element. (Id.) And the “profile owner computer” must then perform a significant number of

 steps in the claim based on its programming (annotated in red):

         1. A method of causing delivery of electronic advertisements based on provided
         profiles comprising:
                (a) with a computer system automatically storing, in a central database
         associated with the computer system, profile information associated with a
         visitor, as a result of electronic receipt from a profile owner computer of indicia
         of the profile information, which profile information associated with the visitor
         matches a profile or kind of profiles requested by an entity controlling the
         computer system, wherein a tag associated with a visitor device serves as a link
         to the profile information associated with the visitor;
               (b) wherein the profile owner computer is programmed:
                     (i) to automatically select a media property entity of a plurality of
               media property entities based on a comparison of (A) profile information
               about a visitor who electronically accessed electronic apparatus of a
               profile supplier with (B) a plurality of stored requests from the plurality of
               media property entities, one of which media property entities is the entity
               controlling the computer system, each stored request being for requested
               profiles or kinds of profiles, which plurality of stored requests includes the
               profile or kind of profiles requested by the entity controlling the computer
               system, and
                      (ii) when the media property entity is the entity controlling the
               computer system, to automatically arrange for electronic storage of a
               requested profile linked to the tag that is associated with the visitor device,
               the tag being readable by equipment that is part of the computer system of
               part (a); and (c) later, when the visitor device is available to receive an
               advertisement, with the computer system, (i) using the tag of part (a) that
               is associated with the visitor device to access the profile information stored
               in the central database, and (ii) using the profile information linked to the
               tag of part (a) to automatically cause delivery of an electronic
               advertisement to the visitor device, wherein the electronic advertisement
               is dependent on the profile information associated with the visitor.




                                                  9
Case 1:24-cv-00831-MN           Document 25         Filed 01/28/25    Page 13 of 14 PageID #: 549




 FAC Ex. 5 at cl. 1. (annotated). None of these subsequent steps are performed by LiveIntent if

 the “profile owner computer” is a third-party computer, and thus, AlmondNet has not made out a

 claim that LiveIntent directly infringes the claims of the ’445 patent.

         Thus, AlmondNet’s claim of infringement for the ’445 patent should be dismissed.

         C.      AlmondNet’s Allegations of Pre-Suit Indirect Infringement Should be
                 Dismissed

         AlmondNet’s Amended Complaint is vague on this issue, as it generally alleges indirect

 infringement (inducement and contributory infringement) but does not expressly limit its

 allegations to post-filing. See, e.g., FAC ¶ 14. But because AlmondNet now agrees it has not

 alleged pre-suit indirect infringement (Opp. at 10), its indirect allegations should be dismissed

 for any activities that occurred prior to the filing of the suit.

 III.    CONCLUSION

         For the reasons stated above, Defendant LiveIntent respectfully requests the Court dismiss

 AlmondNet’s claims of direct infringement as to the claims of the ’146 and ’445 patent and dismiss

 AlmondNet’s claims of pre-suit indirect infringement.




                                                    10
Case 1:24-cv-00831-MN      Document 25     Filed 01/28/25       Page 14 of 14 PageID #: 550




 Dated: January 28, 2025                 FISH & RICHARDSON P.C.

                                         By: /s/ Grayson P. Sundermeir
                                             Susan E. Morrison (No. 4690)
                                             Grayson P. Sundermeir (No. 6517)
                                             222 Delaware Avenue, 17th Floor
                                             Wilmington, DE 19899-1114
                                             (302) 652-5070
                                             morrison@fr.com
                                             sundermeir@fr.com

                                                Aamir A. Kazi (pro hac vice)
                                                (GA Bar No. 104235)
                                                1180 Peachtree Street, NE, 21st Floor
                                                Atlanta, GA 30309
                                                (404) 892-5005
                                                kazi@fr.com

                                                Attorneys for Defendant LiveIntent, Inc.




                                           11
